                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                         WESTERN DIVISION

                                 NO. 5:19-CR-4 73-D-1


UNITED STATES OF AMERICA

             v.

JOEY EDUARDO AYALA


                           FINAL ORDER OF FORFEITURE

      WHEREAS, on July 31, 2020 this Court entered an Amended Preliminary

Order of Forfeiture pursuant to the provision of 21 U.S.C. § 853 and 18 U.S.C.

§ 924(d)(l), based upon the defendant's plea of guilty to offenses in violation of 21

U.S.C. § 841(a)(l) and 18 U.S.C. § 924(c)(l)(A), and agreement to the forfeiture of the

property listed in the July 31, 2020 Amended Preliminary Order of Forfeiture, to wit:

      (a)    $6,484.00 in United States Currency;

      (b)    One .40 caliber Smith & Wesson firearm, bearing s/n FXR7021, and any
             and all ammunition; and

      (c)    One Hi-Point 9mm Luger firearm, bearing s/n P9776038, and any and
             all ammunition.

      AND WHEREAS, the United States published notice of this forfeiture at the

www.forfeiture.gov web site for at least 30 consecutive days, between August 1, 2020

and August 30, 2020, as required by Rule G(4)(a)(iv)(C) of the Supplemental Rules

for Admiralty of Maritime Claims and Asset Forfeiture Actions. Said published notice

advised all third parties of their right to the petition the court within sixty (60) days



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from the first day of publication date for a hearing to adjudicate the validity of their

alleged legal interest in the forfeited property;

      AND WHEREAS, it appears from the record that no claims, contested or

otherwise, have been filed for any of the subject property described in this Court's

July 31, 2020 Amended Preliminary Order of Forfeiture, other than those specifically

mentioned herein.

      It is HEREBY ORDERED, ADJUDGED and DECREED: ·

      1.      That the subject property listed in the July 31, 2020 Amended

Preliminary Order of Forfeiture is hereby forfeited to the United States. That the

United States Marshals Service and/or the Federal Bureau of Investigation are

directed to dispose of the property according to law, including destruction.

      2.    That any and all forfeited funds shall be deposited by the United States

Department of Justice as soon as located or recovered into the Department of Justice's

Assets Forfeiture Fund in accordance with 28 U.S.C. § 524(c) and 21 U.S.C. § 881(e).

      The Clerk is hereby directed to send copies of this Order to all counsel of record.

      SO ORDERED this        .S:   day of   Na\lO Mbo.A.         , 2020.




                                         United States District Judge




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